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   8                                UNITED STATES DISTRICT COURT
   9                          SOUTHERN DISTRICT OF CALIFORNIA
  10
  11    UNITED STATES OF AMERICA,                                CASE NO. 09cr577-MMA-1
  12                                          Plaintiff,
  13                          vs.                                ORDER DENYING DEFENDANT’S
                                                                 MOTION IN LIMINE TO EXCLUDE
  14                                                             CO-DEFENDANT’S STATEMENTS
  15    JESUS NAVARRO-MONTES (01),                               [Doc. No. 152]
  16                                        Defendant.

  17          This matter is before the Court on the in limine motion of Defendant Jesus Navarro-Montes
  18   (“Navarro”) for an order excluding statements made by his co-defendant Jorge Montes-Leyva
  19   (“Montes”) on June 23, 2010 to a wired jailhouse informant. During that conversation, Montes
  20   admitted to the jailhouse informant that he had been involved in the events surrounding the death of
  21   a federal agent. Montes’ statements also implicated Navarro in the events. Navarro anticipates that
  22   the government will offer the live testimony of the jailhouse informant at trial, in lieu of testimony
  23   from Montes. Navarro asserts that statements made by Montes to the informant must be considered
  24   testimonial in nature, and therefore introduction of the informant’s testimony would violate his
  25   rights under the Confrontation Clause of the Sixth Amendment. He also argues that any such
  26   testimony is inadmissible hearsay. The government opposes the motion. For the following reasons,
  27   the Court DENIES the motion.
  28   ///


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   1                                                DISCUSSION
   2          1.      Confrontation Clause
   3          The Confrontation Clause of the Sixth Amendment provides that in criminal cases the
   4   accused has the right to “be confronted with witnesses against him.” U.S. Const. amend. VI. Apart
   5   from the rules of evidence, the Confrontation Clause bars the admission of “testimonial” statements
   6   made by persons who are not subject to cross examination regardless of whether a hearsay exception
   7   would otherwise allow the admission of the statements. Crawford v. Washington, 541 U.S. 36
   8   (2004). “Testimony . . . is typically a solemn declaration or affirmation made for the purpose of
   9   establishing or proving some fact.” Id. at 51 (citations and quotation marks omitted); see id. (“An
  10   accuser who makes a formal statement to government officers bears testimony in a sense that a
  11   person who makes a casual remark to an acquaintance does not.”). Although the Supreme Court did
  12   not precisely define the term “testimonial” in deciding Crawford, it did bar the introduction of
  13   out-of-court statements which are testimonial in nature, unless “the declarant is unavailable, and
  14   only where the defendant has had a prior opportunity to cross-examine.” Id. at 59.
  15           Here, Navarro argues that Montes’ statements were the result of a de facto interrogation by a
  16   jailhouse informant, who had received instructions from government agents, was fitted with a wire,
  17   and spent more than three hours talking to Montes about his involvement in the underlying events of
  18   this case. Navarro claims that the government subjected Montes to a “shock and awe presentation,”
  19   complete with graphic photos of the deceased federal agent, immediately prior to placing Montes in
  20   a cell with the informant. Navarro urges the Court to conclude that the presentation played on
  21   Montes’ emotions, making him vulnerable to questions from a well-prepared informant, and
  22   rendering his statements testimonial in nature.
  23          Montes’ argument is without merit. First, an informant’s level of preparedness prior to
  24   questioning or otherwise interacting with an intended target is not the relevant inquiry, as noted by
  25   the Supreme Court in its most recent ruling regarding the Confrontation Clause. Michigan v.
  26   Bryant, 131 S.Ct. 1143, 1161, fn.11 (2011) ( “[i]t is the [declarant’s] statements, and not the
  27   [interrogator’s] questions, that must be evaluated under the Sixth Amendment”). Second, Montes
  28   did not realize that his temporary cell mate was acting as an informant and later would relay his


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   1   statements to law enforcement. Nor did Montes speak to the informant with any reasonable belief
   2   that his statements would be preserved for later use at a trial, as he had no knowledge that the
   3   government was secretly recording the conversation. See, e.g., United States v. Summers, 414 F.3d
   4   1287, 1302 (10th Cir.2005) (proper focus is on whether declarant would believe statement would
   5   later be used as evidence). Courts have held repeatedly that a statement unwittingly made to a
   6   confidential informant and recorded by the government is not “testimonial” for Confrontation Clause
   7   purposes. United States v. Tolliver, 454 F.3d 660, 665 (7th Cir.2006); United States v. Underwood,
   8   446 F.3d 1340, 1347-48 (11th Cir.2006); United States v. Hendricks, 395 F.3d 173, 182-84 (3d
   9   Cir.2005); United States v. Saget, 377 F.3d 223, 229-30 (2d Cir.2004).
  10          Furthermore, even assuming that statements made to someone other than law enforcement
  11   personnel can be testimonial, see Davis, 547 U.S. at 823 n. 2 (leaving the question open), Montes’
  12   statements during his conversation with the informant never came close to being a “solemn
  13   declaration or affirmation made for the purpose of establishing or proving some fact.” Crawford,
  14   541 U.S. at 51 (quoting N. Webster, An American Dictionary of the English Language (1828)), but
  15   rather seemed like remarks “to a casual acquaintance.” Crawford, 541 U.S. at 68. The transcript
  16   shows that the conversation between the two men was casual and informal, and included tangential
  17   discussions regarding subjects such as the World Cup soccer tournament. As such, Montes’ secretly
  18   recorded statements were not “testimonial” within the meaning of Crawford and are not subject to
  19   exclusion under the Confrontation Clause. See Davis v. Washington, 547 U.S. at 825 (giving as
  20   examples of statements that “were clearly non-testimonial,” “statements made unwittingly to a
  21   Government informant,” and “statements from one prisoner to another”); United States v. Dale, 614
  22   F.3d 942, 956 (8th Cir.2010) (co-defendant’s unwittingly recorded statements to fellow prisoner
  23   held not testimonial); Saechao v. Oregon, 249 Fed. App’x 678, 679 (9th Cir.2007) (tape recorded
  24   statement by co-defendant during jailhouse telephone call to a friend held not testimonial).
  25          2.      Hearsay
  26          With respect to Navarro’s argument that the statements are inadmissible hearsay, Montes’
  27   statements are admissible as statements against penal interest under Federal Rule of Evidence
  28   804(b)(3). For a statement against interest to be admissible under 804(b)(3), the proponent must


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   1   show that: (1) the declarant is unavailable as a witness; (2) at the time the statement was made, it
   2   was “so far contrary to the declarant’s pecuniary or proprietary interest, or so far tended to subject
   3   the declarant to civil or criminal liability . . . that a reasonable person in the declarant’s position
   4   would not have made the statement unless believing it to be true.” Fed. R. Evid. 804(b)(3).
   5   “Whether a statement is in fact against interest must be determined from the circumstances of each
   6   case.” Williamson v. United States, 512 U.S. 594, 604 (1994).
   7           The first requirement will be met only if Montes refuses to testify at trial. See Fed. R. Evid.
   8   804(a)(2). As for the second requirement, the statement need only “tend to” subject the declarant to
   9   liability, as the Ninth Circuit requires a broad reading of Rule 804(b)(3). United States v. Paguio,
  10   114 F.3d 928, 933 (9th Cir. 1997) (“The word ‘tending’ broadens the phrase, so that the statement
  11   need not be a plain confession making the difference between guilty and not guilty.”) (citing United
  12   States v. Slaughter, 891 F.2d 691, 698 (9th Cir. 1989)). Based on the premise that a reasonable
  13   person would not falsely subject himself to criminal liability, Rule 804(b)(3) also requires that the
  14   statements “in a real and tangible way[] subject the declarant to criminal liability. A showing that
  15   the statements solidly inculpate the declarant is required.” United States v. Monaco, 735 F.2d 1173,
  16   1176 (9th Cir. 1984) (internal citations omitted). Here, Montes admitted to being involved in the
  17   events giving rise to the criminal charges in this case. Thus, the second requirement under Rule
  18   804(b)(3) is met. Accordingly, Montes’ statements are not subject to exclusion under the rules of
  19   evidence.
  20                                                 CONCLUSION
  21           Based on the foregoing, the Court DENIES Defendant’s motion in limine.
  22           IT IS SO ORDERED.
  23   DATED: March 16, 2011
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  25                                                     Hon. Michael M. Anello
                                                         United States District Judge
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